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07
                              UNITED STATES DISTRICT COURT
08                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
09

10 UNITED STATES OF AMERICA,              )
                                          )
11         Plaintiff,                     )
                                          )            Case No.: CR05-0152-L
12         v.                             )
                                          )
13   LAM THANH PHAM,                      )            DETENTION ORDER
                                          )
14         Defendant.                     )
     ____________________________________ )
15

16 Offense charged:

17          Counts 1 through 44: Bank Fraud (18 U.S.C. § 1344 and 2).

18 Date of Detention Hearing:      April 27, 2005.

19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

20 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

21 that no condition or combination of conditions which defendant can meet will reasonably assure

22 the appearance of defendant as required and the safety of other persons and the community.

23          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

24          (1)     Defendant was interviewed by Pretrial Services of the Central District of

25 California, and reports were prepared on March 28, 2005, and April 1, 2005. Defendant did not

26 interview with Pretrial Services for the Western District of Washington. Based upon the available

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 information, it appears there is no condition or combination of conditions that would reasonably

02 assure future Court appearances and address the safety of any persons or the community.

03          (2)    Defendant is viewed as a flight risk based on his lack of ties in this jurisdiction.

04 In addition, he has no established community, but has family ties in many areas including

05 California, Texas, Virginia, Florida, and New York. Defendant is a citizen of Vietnam and has

06 reported traveling within the past three years.

07          (3)    A criminal record check reveals that defendant has a substantial number of criminal

08 violations.

09          (4)    On several occasions, defendant has used false identification and other false

10 documents.

11          (5)    Defendant is viewed as a risk of danger because of his criminal history, and as a

12 risk of financial danger to the community. His actions are alleged to have caused an estimated

13 loss of between $1,500,000 and $1,800,000 relating to the current offense.

14          (6)    Defendant appears to have no substantial ties to the community or to the Western

15 District of Washington.

16          IT IS THEREFORE ORDERED:

17          (1)    Defendant shall be detained pending trial and committed to the custody of the

18                 Attorney General for confinement in a correction facility separate, to the extent

19                 practicable, from persons awaiting or serving sentences or being held in custody

20                 pending appeal;

21          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

22                 counsel;

23          (3)    On order of a court of the United States or on request of an attorney for the

24                 government, the person in charge of the corrections facility in which defendant is

25                 confined shall deliver the defendant to a United States Marshal for the purpose of

26                 an appearance in connection with a court proceeding; and

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United States

03               Pretrial Services Officer.

04
                 DATED this 28th day of April, 2005.
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06
                                               s/ JAMES P. DONOHUE
07                                             United States Magistrate Judge

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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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